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 4
     Attorney for Defendant
 5   SANTIAGO AVALOS
 6
 7
 8                  IN THE UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,            )       CR-F-08 00358 AWI
                                          )
12         Plaintiff,                     )       STIPULATION TO RESET
                                          )       SENTENCING DATE AND
13                                        )       ORDER
                                          )       Date: September 8, 2009
14                                        )       Time: 9:00 a.m
           v.                             )
15                                        )
     SANTIAGO AVALOS,                     )
16                                        )
           Defendant.                     )
17                                        )
18         It is hereby stipulated between counsel for the government and counsel for
19   defendant that additional time is needed to prepare for sentencing as the Safety
20   Valve interview has not yet been conducted; counsel therefore request that the
21   sentencing date be re-set from from August 3, 2009 to September 8, 2009.
22
23   DATE: July 30, 2009                   /s/Katherine Hart
                                           KATHERINE HART, Attorney for
24                                         Defendant SANTIAGO AVALOS
25
     DATE: July 30, 2009                   /s/ Laurel Montoya
26                                         LAUREL MONTOYA, Assistant United
                                           States Attorney
27
28                                            1
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 1
                                         ORDER
 2
 3
           Good cause appearing, it is hereby ordered that the sentencing hearing
 4
     previously set for August 3, 2009 be scheduled for September 8, 2009 at 9:00 a.m.
 5
 6
     IT IS SO ORDERED.
 7
     Dated:    July 30, 2009                /s/ Anthony W. Ishii
 8   0m8i78                        CHIEF UNITED STATES DISTRICT JUDGE
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